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 1                         UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
 2
                            CASE NO. 10-20763-CR-GRAHAM
 3
       UNITED STATES OF AMERICA,
 4                                              Miami, Florida
                        Plaintiff(s),
 5                                              February 7, 2018
                  vs.
 6
       HENRY DE JESUS LOPEZ LONDONO,
 7                                        Volume 01
                      Defendant(s).       Pages 1- 17
 8     -----------------------------------------------------------

 9          TRIAL EXCERPT - OPENING STATEMENT OF ARTURO HERNANDEZ
                    BEFORE THE HONORABLE DONALD L. GRAHAM
10                       UNITED STATES DISTRICT JUDGE

11     APPEARANCES:

12     FOR THE PLAINTIFF(S):      ROBERT EMERY, AUSA
                                  MICHAEL NADLER, AUSA
13                                United States Attorney's Office
                                  99 NE 4th Street
14                                Miami, Florida 33132
                                  robert.emery2@usdoj.gov
15                                michael.nadler@usdoj.gov

16     FOR THE DEFENDANT(S):      ARTURO V. HERNANDEZ, ESQ.
                                  RAMON A. HERNANDEZ, ESQ.
17                                Law Office of Arturo V. Hernandez, P.A.
                                  40 NW 3rd Street, Suite 200
18                                Miami, Florida 33128
                                  avhlaw@bellsouth.net
19                                rayhernandezesq@gmail.com

20

21     REPORTED BY:               Jill M. Felicetti, RPR, CRR, CSR
                                  Official Court Reporter
22                                400 N. Miami Avenue, Suite 08S27
                                  Miami, Florida 33128
23                                jill_felicetti@flsd.uscourts.gov

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 1     (Excerpt)

 2                MR. A. HERNANDEZ:    Good morning, members of the jury.

 3     I want to introduce again the people who are sitting at the

 4     defense counsel table this morning.        I know I already did it

 5     once before, but I want to do it one more time.

 6                My name is Art Hernandez.      I represent Henry Lopez

 7     Londono.    Next to him is Ray Hernandez.

 8                Where do we begin?     I think we begin with this

 9     document.    This is the superseding indictment, and Judge Graham

10     will instruct you that this document is not evidence.           It is

11     simply the accusation.      And you can see that it's only three

12     pages long.    I want to read you a portion of it, and you will

13     get this when you go to deliberate this case after you hear all

14     the evidence in the case.      There is a portion of it that I want

15     to read to you.

16                It says that:    "In October of 2006 through February of

17     2012" -- you are talking about a six-year period, that's a

18     large block of time, right -- "that the defendant" -- in this

19     case Henry De Jesus Lopez Londono, Henry to us -- "conspired to

20     distribute a controlled substance intending that such substance

21     would be unlawfully imported into the United States."

22                Now, again, I repeat this is not evidence.         It is

23     simply the accusation.      But the fact that it is not evidence

24     doesn't mean that this document does not have enormous power.

25                Now, the document itself doesn't say on such and such
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 1     date a witness said this, on such and such date the defendant

 2     did that.    It doesn't say any of that.       It just said he

 3     conspired to distribute drugs with the intent to unlawfully

 4     import it into the United States.        But this quite powerful

 5     document is what caused my client who was living in Buenos

 6     Aires, Argentina, with his wife and two minor children to be

 7     extradited into the United States.        It is the document that

 8     causes Henry to be sitting here answering this charge, this

 9     six-year conspiracy, and it is, of course, the reason why I am

10     standing here talking to you and that you are sitting here.

11               So what I want you to know about this document -- what

12     I want you to know about this indictment are really three

13     things.

14               Number one, that it is based on a flawed, very flawed

15     investigation.    I would say to you that the evidence is going

16     to show that there wasn't even an investigation, that it is

17     based on manipulated facts, and I would say to you that the

18     evidence will be that there were outright fabrications.

19               You heard the judge say that I didn't have to prove

20     anything in this case because the burden of proof is on them.

21     You heard the judge say that I didn't even have to make this

22     opening statement, but I am going to prove things in this case.

23     In fact, I can list them for you.        I am going to prove five

24     things.

25               Now, understand something.       When a trial lawyer like
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 1     me stands up in front of a jury and says this is what I am

 2     going to prove, and I am going to prove it.         I am going to

 3     prove it by the documents, I am going to prove it by my

 4     cross-examination of the government witnesses, and I am going

 5     to prove it by the witnesses that you are going to hear from in

 6     my case.    It's not like a politician who makes a promise and

 7     then the electorate goes out and conducts an election.           I have

 8     to prove these things before you go back into the jury room and

 9     vote.   So I have to be very, very careful and very sure of what

10     I am going to say.

11                Those of you who have notes and you want to take

12     notes, here are the five things:

13                One, public authority.     That's the first thing I am

14     going to prove and perhaps the most important.          There is a

15     defense in our laws called the public authority defense.            That

16     means if you are working for the federal government and they

17     ask you to do certain things, like to conspire, you are

18     insulated from liability.      That's number one.

19                The number two thing that I am going to prove --

20                And by the way, I am going to prove that Henry was

21     authorized.    That is the central question that you are going to

22     have to decide whether or not there is a reasonable doubt.            The

23     central question was he authorized to conspire or not.           We say

24     he was; they say he wasn't.       You will decide.

25                Number two, innocent intent.      What does this mean,
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 1     innocent intent?     What am I talking about here?       The fact is

 2     that we are going to prove that Henry believed in his mind that

 3     he was authorized, and there is going to be a ton of evidence

 4     to support that it was reasonable for him to believe that he

 5     was authorized to conspire.       I am going to come back to each of

 6     these but I want to list them, but I just want to tell you that

 7     for two reasons for now why he had innocent intent.

 8               Believe me, you will hear at the end of the case when

 9     the judge instructs you, that criminal intent is an essential

10     element of the crime that they have to prove.          So if you

11     determined that Henry had innocent intent, that's an acquittal

12     because intent is an essential element of the crime that has to

13     be proven beyond and to the exclusion of reasonable doubt.

14               There is going to be plenty of evidence that it was

15     reasonable for him to believe that he was authorized and that

16     he had a public authority defense because they told him -- the

17     agents, and I will get back to this -- but there is a third

18     thing, and that is -- I take no pleasure in saying this -- he

19     was betrayed.    Betrayal.    He was stabbed in the back by our

20     government.    And when I say that he was stabbed in the back,

21     what do I mean?     He was left in the lurch in Colombia after two

22     years of risking his life in the jungle and providing evidence

23     about the worst people in the world who are now government

24     witnesses.    That's the irony.     With his life on the line, he

25     was left without any protection.        The bad guys would eventually
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 1     find out that he had been leaking information to the feds and

 2     they would have killed him and they would have killed his

 3     family because that's the way it works, and he was left without

 4     any kind of patronage from our government because our

 5     government decided to stab him in the back.         Put a little knife

 6     there, and that's what happened.        But it gets worse.     After the

 7     betrayal the agents destroyed the evidence of his public

 8     authority defense.

 9                So we had destruction of evidence, and there was a

10     coverup.    The destruction of the evidence came in the form of

11     five government telephones.       These are five BlackBerry phones.

12     This is critical.     We are not talking about Henry's phones.         We

13     were lucky enough that Henry was able, when he escaped from

14     Colombia, to secret out one of these phones, and we are going

15     to be able to introduce that phone, but forget about Henry's

16     phone for just a moment.      It's the contents of Henry's phone.

17     How they get up here with a straight face and say Henry wasn't

18     authorized.    When you see in the text messages how they are

19     encouraging him, they knew that he was -- that he had

20     infiltrated the Urabenos.      They applauded him.      They said great

21     job, keep doing it -- that we were able to save -- so you will

22     hear that.

23                But I am talking about the five government phones

24     because you see, when you are in the jungle and you are in one

25     of these criminal organizations and you have got people all
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 1     around you with AR-47s and/or AK-47s, whatever, you can't be

 2     texting agents and sending them messages, Hey, Ontoniel is

 3     going to do a run, because if you get caught doing that, that's

 4     the end of your life.      So it had to be done very

 5     surreptitiously and very carefully.        But these messages

 6     occurred and they occurred between the dates of approximately

 7     April of 2009 all the way through, I would say, March of 2010.

 8     That was the main basis, not the only, but the main basis of

 9     communication between the ICE agents, HSI agents, and Henry

10     when Henry was in the field.

11               These agents were managing him by BBM messages, and

12     after it became clear -- and I will explain -- it goes to

13     number three why there was a betrayal -- these phones were

14     destroyed -- after it became clear that Henry was no longer

15     going to be protected, it became clear that the DEA and ICE,

16     knowing that there was a public authority defense, knowing that

17     there were communications where they were giving instructions

18     to Henry, destroyed five BlackBerry phones and their contents.

19               The fifth thing that I am going to prove is what I

20     call the insufficiency of evidence.        These are the five things

21     that I am going to prove.

22               Now, this last one, you just heard about 19 witnesses

23     that are going to be called by the government.          I assure you

24     that there will not be a single witness who isn't a drug

25     trafficker sitting in jail who wants to get out of jail.            Maybe
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 1     one exception to that, all of them -- all of them have deals,

 2     every single one.     So you have to understand under the public

 3     authority defense we come to you and we say, Look, yes, we

 4     conspired.    So we conspired, but the reason we conspired is

 5     because they asked us to conspire.        The government asked us to

 6     conspire.    That's the reason.

 7               So there are a certain amount of facts that are going

 8     to have to be admitted by us because you cannot infiltrate a

 9     criminal organization, be it the Urabenos or the mafia, and not

10     engage in a certain amount of criminal activity.          You just

11     can't do it because if you don't do it, you die.          Simple as

12     that.   It's not difficult to understand.

13               So in order for Henry to get the information that he

14     was tasked -- you don't have to take my word for it.           We got

15     the emails from the government.       These tasks he had to act the

16     part or the role of a member of the Urabenos.          But in the

17     years -- and the government claims that they started

18     investigating Henry apparently because of the indictment from

19     2006, right, a six-year period.       What was it that Mr. Emery

20     said to you, that he distributed thousands of thousands of

21     kilos of cocaine again and again and again.

22               MR. EMERY:    Objection, your Honor.      Argumentative.

23               THE COURT:    Overruled.

24               MR. A. HERNANDEZ:     Show me one kilo, members of the

25     jury.   That's the question you need to ask.        One picture of one
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 1     kilo, one gram of cocaine as evidence in this case.           They had

 2     two informants, paid informants.

 3                You remember during voir dire that they said does

 4     anybody object to rewards?      Well, now I am going to tell you

 5     why they asked you those questions because the snitches in this

 6     case, one of them received $224,000 of taxpayer money -- I am

 7     going to prove that -- who the government is calling as a

 8     witness.    The great irony, members of the jury, is that we are

 9     going to prove that the witnesses that are going to be brought

10     into this courtroom, the 19 snitches that are in jail, members

11     of the jury, my client gave information about all of them, and

12     they know it.    They know that he betrayed them.

13                So six-year conspiracy, two informants being paid

14     thousands upon thousands of dollars, they had 25 meetings with

15     other people, all of them recorded and not a single meeting

16     with Henry that's recorded?       Not a single videotape?      Not a

17     single audiotape?

18                That's the objective evidence in this case.         It

19     doesn't exist.    Everything is made up by people desperate to

20     get out of jail.     There isn't one fact witness who is going to

21     come in and testify who doesn't have an enormous motivation to

22     curry favor with those folks right there, because they hold the

23     key.

24                So I am going to go back.      I need to discuss this with

25     you a little bit.     Why is it that Henry decides, as Mr. Emery
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 1     said that he decides that he wants to cooperate?           Did that

 2     happen out of the blue?      No, it didn't happen out of the blue.

 3                Henry was born in the year 1971 in Medellin, Colombia,

 4     at a time when Colombia was involved in a horrible civil war

 5     between communist insurgents and paramilitary forces.            He was

 6     directly affected by this because Medellin was the center of a

 7     lot of the fighting and the young men were either recruited for

 8     one side or the other side.       Henry was a young man at the time

 9     when this is happening.

10                This is difficult for us to understand.         Maybe this is

11     difficult for some of us to understand in this case, but that's

12     what the evidence is going to show.         Henry did, in fact, join

13     the AUC.    So why is that important?       It's very important

14     because at one point the Colombian government wanted to bring

15     an end to the AUC and the war between the AUC, the Colombian

16     government, and the FARC, the communist insurgency.           He

17     developed a plan called the Justice and Peace Plan.           Henry, who

18     was, in fact, a member of a block called the Centauros of the

19     AUC, did demobilize in the end of the year 2005.

20                Please keep in mind Henry was in a detention camp from

21     2005 -- end of 2005 until 2006.        That's one year of the

22     indictment that he was in detention by the Colombian government

23     during this period of time.       So that takes an entire year out

24     of one-sixth of the time period.

25                At the end of 2006 -- and by the time the end of 2006
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 1     came along, Henry had made declarations to the Colombian

 2     government about corruption, at the highest levels of the

 3     Colombian government that involved an individual who was at the

 4     time the director of the Colombian National Police whose name

 5     is General Oscar Naranjo.       This is documented, right, and when

 6     he is released he was released from the detention camp called

 7     la orquidia, the orchid in English.         He was able to come back

 8     to civil society, and for reasons that will be more fully

 9     fleshed out during the trial, he had to leave Colombia, and he

10     left Colombia with his wife, who was pregnant at the time, and

11     another small child and they went to Argentina seeking asylum

12     to get away from the situation in Colombia.

13                MR. EMERY:    Objection, your Honor.      Objection.

14                THE COURT:    One moment.    One moment.

15                This is testimony that you will be presenting in your

16     case in chief?

17                MR. A. HERNANDEZ:     Absolutely.

18                THE COURT:    Overruled.

19                MR. A. HERNANDEZ:     So he goes to Argentina, but his

20     situation is not settled.

21                What we are going to prove is that Henry had an

22     incredibly difficult situation that he had to handle.            He

23     couldn't go back to Colombia.       His situation in Argentina was

24     very unstable.     He asked for asylum, but he only got a partial

25     asylum.
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 1                So at that point in time there was a man by the name

 2     of Carlos Mario Garcia.      He is a peripheral player in this

 3     story, but nonetheless very important because Carlos Mario

 4     Garcia introduces Henry to a man named Roberto Luna.

 5                Now, you will recall that Mr. Emery said that he was

 6     never authorized, that he never met with the IRS.           One part of

 7     that is true; one part is absolutely false.          The part that is

 8     false is that he was authorized by the IRS.          The part that is

 9     true is that the IRS agents never met with Henry, but what

10     Mr. Emery didn't tell you is that the IRS met with Henry's

11     lawyer.    Actually, with two of them, one who will testify in

12     this case, Eduardo Hernandez in Colombia, and the other one, a

13     man, another lawyer, an American lawyer by the name of Aldo

14     Spicacci.    They met in Miami, and the reason why they met in

15     Miami is because Henry did not want to abandon Argentina unless

16     he could confirm that the IRS agents that he was talking to

17     were official agents.      So he hired an American lawyer to meet

18     with the IRS and get the details of what he was supposed to do.

19     My God, that meeting took place, and it took place in the early

20     part of 2009.

21                Let's get back to this guy Luna.        Who is this guy

22     Luna?   You recall during jury selection you were asked would

23     you hold it against us if some guy comes in with a baseball cap

24     and sunglasses and a phony beard and a phony mustache?            You

25     remember that questioning?       They are referring to Roberto Luna.
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 1     It's not even his name.      It's a phony name.      They are not

 2     calling him as a witness; I am calling him as a witness.            And

 3     who is this guy?     This guy is a paid informant back in 2008 for

 4     the IRS.    He is the guy who was recruiting Henry to be a

 5     government informant.

 6                There were discussions with him, and you know what, we

 7     got lucky again because that informant, who has a contract with

 8     the IRS, he is an agent, right?        We have the emails.     We are

 9     going to go through them.       It's clear that this agent who works

10     with the IRS, who has been paid I don't know how much money,

11     who is a recruiter for the IRS, he was interested in two

12     things.    He was interested in recruiting Henry because Henry,

13     in fact, had been an AUC member, but he was also interested in

14     money.    He wanted Henry to produce $2 million, and it's in the

15     emails.

16                Why do you think he was doing that?        He makes a big

17     deal about drug traffickers wanting money.          Well, this

18     informant, who is their witness, who works for them, was

19     interested in getting a commission on those $2 million.            We

20     don't know yet how much he's been paid.         It's going to be

21     interesting to find out because I am asking those questions,

22     how much he was paid, but the bottom line is we have the

23     emails.    The bottom line is that Henry was recruited by that

24     individual through his friend who lived in Argentina named

25     Carlos Mario Garcia.
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 1                That's why I mentioned the name of Carlos Mario

 2     Garcia, and the reason why Henry did it was because he was

 3     scared that his asylum would not be granted in Argentina, and

 4     he felt that if he risked his life, he infiltrated the

 5     Urabenos, that he produced money and he produced CPOTs -- CPOTs

 6     are Consolidated Priority Organizational Targets.           It's a term

 7     that is used by the DEA and by the ICE agents about getting big

 8     drug dealers.     Henry said I could do this.       He had a discussion

 9     with his wife, and he said I have to do this.          He took -- after

10     he sent his lawyer to Miami and the lawyer confirmed it's

11     official, there is a project, it's a proposal -- and they use

12     those words project and proposal -- Henry decided

13     surreptitiously to go back to Colombia, and that's how Henry

14     infiltrates the Urabenos.

15                Now, I want to go back to this, and that's the reason

16     why Henry does it.      He did it to defend his family.       He did it

17     to find a home in a safe place for his family to live, the

18     United States.     You will see in the emails that that's

19     discussed.    In fact, they asked him for his IDs and the IDs of

20     his family members.      The ICE agents, they put in a request

21     before it all went to hell in a hand basket, and that's what

22     brings us to -- oh, and the reason why Henry has innocent

23     intent is twofold.

24                Number one, because this guy Luna told him that he was

25     authorized, and his attorney told him that he was authorized.
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 1     There is a concept in the law called good faith reliance on

 2     legal advice, and it's part of what you are going to hear, that

 3     Henry was told by two different lawyers, three different

 4     lawyers, Eduardo Roberto, his Colombian lawyer, Aldo Spicacci,

 5     his American lawyer who subsequently was substituted by another

 6     lawyer out of Houston whose name a Erik Sunde, that it was okay

 7     that the government was onboard.

 8                You hear that phrase "onboard."       It's all over the

 9     emails, "We are all onboard.       We are all onboard."      The

10     betrayal.    Betrayal.    Why?   What happened?     I think you can

11     point -- or we are going to point to three different reasons

12     why this happens.

13                Number one, there was political pressure from the

14     Colombian government because Henry had stepped on some big

15     toes.

16                The second factor that we are going to prove is that

17     the DEA had absolute distain for the ICE agents who were

18     managing this project of infiltration, and they felt slighted

19     because they feel and felt that Colombia was their backyard and

20     that ICE was intruding, basically, on their territory.             You

21     don't need to take my word for it.        It's in the documents that

22     we got.    So there was a big fight between ICE, Immigration and

23     Customs Enforcement, and DEA that resulted in this.

24                You heard about rewards.      I could tell you that my

25     client -- so that betrayal, that betrayal, three things:
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 1     Political pressure from Colombia; number two, the conflict

 2     between ICE and DEA; and three, good old-fashioned careerism

 3     and personal ambition.      That's the reason that this document

 4     exists, this three-page document.

 5                The final thing -- I discussed this with you -- I

 6     think I pretty much laid out -- I do want to make a point.

 7     There are a lot of witnesses in this case.          They have made a

 8     lot of statements.      They are all in jail.      They are all drug

 9     traffickers.     But you notice, and you will notice, that the

10     timing of when these statements start to be made come only

11     after -- mostly after the year 2010 when Henry has already

12     become a target of the DEA.       That is part of the reason why I

13     say and I said to you here in the destruction and the coverup

14     of evidence that Henry is a victim of an enormous magnification

15     of his status because it had to be that way in order to kill

16     the project.     These snitches, who are going to come in and

17     testify, they all testified and made statements about Henry

18     after Henry had already been indicted and not before, the great

19     majority of them.

20                I think I am almost finished in laying out what this

21     case is about.     There is a lot more, but I do want to say a

22     final word about evidence in this case.

23                As you know, I painted a little knife here and I said

24     the government had stabbed Henry in the back, and it's true,

25     they did, and that knife is still in his back.          When I prove
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 1     these five things I am going to ask that you take that knife

 2     out and you return Henry back to Doris and his two kids in

 3     Argentina.

 4                Thank you very much for your time.

 5                (Excerpt concluded)

 6                              C E R T I F I C A T E

 7

 8            I hereby certify that the foregoing is an accurate

 9     transcription of the proceedings in the above-entitled matter.

10

11

12     March 5, 2018              /s/ Jill M. Felicetti
                                  Jill M. Felicetti, RPR, CRR, CSR
13                                Official Court Reporter
                                  400 N. Miami Avenue, Suite 08S27
14                                Miami, Florida 33128
                                  jill_felicetti@flsd.uscourts.gov
15

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